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                                                                    EXHIBIT J




   Colorado Court of Appeals                                  DATE FILED: October 21, 2020
                                                              CASE NUMBER: 2020CA1775
   2 East 14th Avenue
   Denver, CO 80203

   Mesa County
   2018CV50

   Plaintiff-Appellant:

   Alyssa C Montalbano,                                     Court of Appeals Case
                                                            Number:
   v.                                                       2020CA1775

   Defendant-Appellee:

   James Corey Goode.

                                 ORDER OF THE COURT

  To: Appellant

        It appears that a final, appealable judgment was entered on January 29, 2020.

  Thus, it appears that a notice of appeal should have been filed on or before March

  18, 2020. C.A.R. 4(a); Widener v. District Court, 200 Colo. 398, 615 P.2d 33

  (1980). However, appellant’s notice of appeal was not filed until October 14,

  2020, and it does not appear that any extension of time for appealing was ever

  granted. Moreover, this Court has authority to grant only a 35-day extension of

  time to file a notice of appeal, and that period expired on April 22, 2020.

        Additionally, the motion filed under C.R.C.P. 60(b) did not toll the time to

  file the notice of appeal. Furthermore, the order on appellant’s C.R.C.P. 60(b)

  motion was issued August 5, 2020. Thus, the notice of appeal was due on or
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  before September 23, 20202. C.A.R. 4(a); Widener, 615 P.2d 33 (1980). As

  provided above, the notice of appeal was not filed until October 14, 2020, and it

  appears that no extension of time was ever granted.

        Therefore, it appears that this Court is without jurisdiction over the appeal as

  to the orders entered January 29, 2020 and August 5, 2020.

        IT IS THEREFORE ORDERED that appellant show cause, in writing and

  within 21 days, why this appeal should not be dismissed with prejudice for failure

  to timely appeal. Failure to respond to this Order within 21 days will result in

  dismissal of the appeal without further notice to the parties.

                                                BY THE COURT




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